Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 1 of 43




              Defense Exhibit 1:

              Counseling Letter
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 2 of 43
 Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 3 of 43




               Defense Exhibit 2:

 Collection of Matthew DaSilva’s

Military Awards and Commendations
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 4 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 5 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 6 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 7 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 8 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 9 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 10 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 11 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 12 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 13 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 14 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 15 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 16 of 43




              Defense Exhibit 3:

Letter of Appreciation for Matthew

DaSilva’s Good Samaritan Efforts
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 17 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 18 of 43




              Defense Exhibit 4:

  Letter from Matthew DaSilva’s

                       Neighbor
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 19 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 20 of 43
 Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 21 of 43




               Defense Exhibit 5:

Letter from Matthew DaSilva’s Wife
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 22 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 23 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 24 of 43
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 25 of 43




              Defense Exhibit 6:

  Letter from Dr. Michael Lynch
       Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 26 of 43




••••
                                                                                            ••••
                                       CONFIDENTIAL
                          Integrated Health Service Solutions, LLC

                               Addendum Report – 15 October 2023


SUBJECT: Addendum to the Neuropsychological Assessment Report (20220228) for Matthew C.
DaSilva

1. The addendum to the neuropsychological assessment report dated 20220228 was requested by the
individual’s counsel, Marina Medvin, Esq. The request was to discuss the clinical impressions
formulated after Mr. DaSilva participated in prolonged psychotherapy. The addendum was also requested
to address what, if any, progress he has made since the initial evaluation was completed. Mr. DaSilva was
interviewed for approximately three hours at the Correctional Treatment Facility, DC Department of
Corrections on 20231013.

2. Mr. DaSilva was asked upon interview if he had any regrets. His immediate response was “Yes”.
When asked to elaborate, he discussed how his actions adversely impacted his family, his life, and the
impact it had on others, both officers and with others “in the crowd”. An in-depth discussion ensued
regarding his belief system, the events surrounding the election, and how he formulated these beliefs.
During the course of the interview, his beliefs were repeatedly challenged in an attempt to evoke a
negative response and/or elicit delusionary thought processes. He never lost composure, was consistent in
his problem-solving and in his firmly held beliefs. He was also very consistent with his responses to
“What would you have done differently?” Mr. DaSilva responded that he would have brought his wife
who would have quickly led him to the hotel and not to the Capital after the initial rally. He noted that he
believes protests are necessary at times, making analogies to Martin Luther King and that those protests
were conducted in a very civilized, organized, non-violent fashion. This is consistent with his reports in
2022 regarding the over stimulation of the crowd; visually, auditorily, and with the tactile nature of the
pushing and combative nature of all involved. He added that was an overwhelming experience he would
never want to face again. One significant change from the initial evaluation in 2022 was that he possesses
a greater level of insight into how others perceive him.

3. When judging the effectiveness of psychotherapy one needs to look at an individual’s level of insight,
how well they maintain a logical problem solving schema when challenged, and can they control their
emotions. The first +/- one hour of the interview was directly confrontational, challenging his beliefs,
attempting to challenge his decision making ability and to attempt to put him on the defensive. Mr.
DaSilva made logical arguments to support his various viewpoints, made intelligent rational
interpretations of a number of debatable points, and maintained his composure. At that point, he was
asked what the undersigned was attempting to do and why. After a brief period of reflection, he was able
to change perspective to better understand what the intent of the undersigned was. This ability for
reflection is a very good indication that he not only engaged in therapy but embraced the concepts.
       Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 27 of 43
SUBJECT: Addendum to the Neuropsychological Assessment Report for Matthew C. DaSilva 20231015


In reviewing his therapeutic experience, Mr. DaSilva reported that he was grateful for having to
participate in therapy. He stated that he found the process helpful in putting the events of January 6th into
perspective, in challenging some of his beliefs, and in his ability to gain self-perception. He stated he
gained trust with the psychologist and found the process both challenging and rewarding.

4. As noted in the initial report, Mr. DaSilva did not see the “crowd” as threatening, but rather feeling
supported. In retrospect, he has come to realize it was both “unorganized” and “without a leader”, that is,
someone who had a well-constructed plan for the protest. Once caught up in the chaotic environment, he
lost perspective. Consistent with the previous evaluation, he has led a life avoiding confrontation. He
stated, that if he was to partake in another protest, he would bring a trusted friend or his wife to ensure he
did not get swept away if the environment became overwhelming, that it is well organized, and has a
focused intent with approvals to congregate. Based on the initial evaluation, including psychological
assessment, the likelihood that he would find himself in a similar situation is remote. As in 2022, he is
someone who intellectualizes his environment, demonstrates restraint, and is typically avoidant by nature.




Michael D. Lynch, PhD, ABPP
LTC (Ret), US Army
Clinical Neuropsychologist
Commonwealth of Virginia (#0810000269)
Adjunct Professor, The Chicago School of Professional Psychology,
       Washington, DC
 Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 28 of 43




               Defense Exhibit 7:

Examples of 2020 Political Riot Case

           Dismissals in Portland
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 29 of 43




                Case 3:20-cr-00442-HZ        Document 26        Filed 12/21/21     Page 1 of 1




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      Attorneys for United States of America


                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          PORTLAND DIVISION

      UNITED STATES OF AMERICA                              3:20-cr-00442-HZ

                     v.                                     MOTION TO DISMISS WITH
                                                            PREJUDICE
      JOSHUA M. WARNER,
        aka EVA WARNER,

                    Defendant.

             The government moves the Court for an Order under Fed. R. Crim. P. Rule 48(a) to

      dismiss with prejudice the indictment against Defendant, in the best interests of justice.

      Defendant has successfully complied with the terms of the Deferred Resolution Agreement,

      including performing at least 30 hours of community service.

      Dated: December 21, 2021                              Respectfully submitted,

                                                            SCOTT ERIK ASPHAUG
                                                            Acting United States Attorney

                                                            /s/ Thomas S. Ratcliffe
                                                            THOMAS S. RATCLIFFE, ILSB #6243708
                                                            Assistant United States Attorney

      Motion to Dismiss with Prejudice                                                               Page 1
                                                                                          Revised February 2021
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 30 of 43




                Case 3:20-cr-00250-HZ         Document 18        Filed 02/19/21    Page 1 of 1




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      Attorneys for United States of America


                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                               3:20-cr-00250-HZ

                     v.
                                                             GOVERNMENT’S MOTION TO
      MARNIE SAMANTHA SAGER,                                 DISMISS INFORMATION WITH
                                                             PREJUDICE
                     Defendant.
                                                             Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020 with

      prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 19, 2021

                                                             Respectfully submitted,

                                                             BILLY J. WILLIAMS
                                                             United States Attorney

                                                             s/ Pamela Paaso
                                                             PAMELA PAASO
                                                             Assistant United States Attorney




      Motion to Dismiss Information with Prejudice                                               Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 31 of 43




                  Case 3:20-mj-00170       Document 9       Filed 10/22/20      Page 1 of 1




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      Attorneys for United States of America


                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-00170

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITHOUT PREJUDICE
      THOMAS JOHNSON,

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing

      without prejudice the Complaint filed July 27, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: October 22, 2020                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
      Motion to Dismiss Complaint                                                                 Page 1
                                                                                         Revised March 2018
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 32 of 43




                Case 3:20-cr-00245-IM       Document 16       Filed 10/09/20    Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-cr-00245-IM

                     v.                                    MOTION TO DISMISS WITH
                                                           PREJUDICE COUNT 1 OF
      JENNIFER LYNN KRISTIANSEN,                           INFORMATION

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing with

      prejudice Count 1 of the information filed July 21, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: October 9, 2020                               Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
      Motion to Dismiss Count 1 of Information                                                   Page 1
                                                                                         Revised March 2018
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 33 of 43




                Case 3:20-cr-00374-BR         Document 18       Filed 08/28/20    Page 1 of 1




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      Attorneys for United States of America


                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00374-BR

                     v.
                                                            GOVERNMENT’S MOTION TO
      TAYLOR CHARLES LEMONS,                                DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on August 21, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: August 28, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 34 of 43




                Case 3:20-cr-00252-HZ         Document 16       Filed 12/04/20   Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00252-HZ

                     v.
                                                            GOVERNMENT’S MOTION TO
      GABRIEL REED HUSTON,                                  DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: December 4, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 35 of 43




                Case 3:20-cr-00210-IM       Document 12       Filed 11/03/20    Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-cr-00210-IM

                     v.                                    MOTION TO DISMISS
                                                           INFORMATION WITHOUT
      THEODORE MATTHEE O'BRIEN,                            PREJUDICE

                    Defendant.


             The United States of America, by and through counsel, respectfully moves this Court,

      pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for an order dismissing

      without prejudice the Information filed July 7, 2020, charging defendant with Assault on a

      Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: November 3, 2020                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney
      Motion to Dismiss Information                                                            Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 36 of 43




                Case 3:20-cr-00278-JO          Document 7      Filed 09/10/20    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00278-JO

                     v.
                                                            GOVERNMENT’S MOTION TO
      PABLO AVVACATO,                                       DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 27, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: September 10, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 37 of 43




                Case 3:20-cr-00286-MO         Document 9      Filed 11/30/20     Page 1 of 1



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                                 UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

      UNITED STATES OF AMERICA                             3:20-cr-00286-MO

                     v.                                    GOVERNMENT’S MOTION TO
                                                           DISMISS INFORMATION WITH
      IAN ALEC WOLF,                                       PREJUDICE

                    Defendant.


             Plaintiff United States of America moves to dismiss this information with prejudice in the

      interest of justice. Defendant has completed the requirements for the deferred resolution

      agreement.

      Dated: November 30, 2020                             Respectfully submitted,

                                                           BILLY J. WILLIAMS
                                                           United States Attorney


                                                           _/s/ Ashley R. Cadotte________________
                                                           ASHLEY R. CADOTTE, OSB #122926
                                                           Assistant United States Attorney




      Motion to Dismiss Information with Prejudice                                                Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 38 of 43




                Case 3:20-cr-00279-IM         Document 13       Filed 12/21/20   Page 1 of 1



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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00279-IM

                     v.
                                                            GOVERNMENT’S MOTION TO
      DOUGLAS ROBERT DEAN,                                  DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 27, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: December 21, 2020

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 39 of 43




                 Case 3:20-mj-00168        Document 18       Filed 01/20/21     Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-168

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITH PREJUDICE
      REBECCA MOTA GONZALEZ,

                    Defendant.


             The United States of America respectfully moves this Court, pursuant to Rule 48(a) of

      the Federal Rules of Criminal Procedure, for an order dismissing with prejudice the Complaint

      filed July 27, 2020, charging defendant with Assaulting a Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: January 20, 2021                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney


      Motion to Dismiss Complaint                                                               Page 1
                                                                                        Revised March 2018
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 40 of 43




                 Case 3:20-mj-00166        Document 14       Filed 01/22/21     Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON


      UNITED STATES OF AMERICA                             3:20-mj-166

                     v.                                    MOTION TO DISMISS COMPLAINT
                                                           WITH PREJUDICE
      STEPHEN EDWARD O’DONNELL,

                    Defendant.


             The United States of America respectfully moves this Court, pursuant to Rule 48(a) of

      the Federal Rules of Criminal Procedure, for an order dismissing with prejudice the Complaint

      filed July 26, 2020, charging defendant with Assaulting a Federal Officer.

             The government seeks this dismissal in the interests of justice.

      Dated: January 22, 2021                              Respectfully submitted,


                                                           BILLY J. WILLIAMS
                                                           United States Attorney

                                                           s/ Parakram Singh
                                                           PARAKRAM SINGH, OSB #134871
                                                           Assistant United States Attorney


      Motion to Dismiss Complaint                                                               Page 1
                                                                                        Revised March 2018
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 41 of 43




               Case 3:20-cr-00329-BR        Document 15       Filed 01/21/21     Page 1 of 1




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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

      UNITED STATES OF AMERICA                            3:20-cr-00329-BR

                     v.                                   GOVERNMENT’S MOTION TO
                                                          DISMISS INFORMATION WITH
      JEFFREE CHEYENNE CARY,                              PREJUDICE

                    Defendant.


             Plaintiff United States of America moves to dismiss this information with prejudice in the

      interest of justice. Defendant has completed the requirements for the deferred resolution

      agreement.

      Dated: January 21, 2021                             Respectfully submitted,

                                                          BILLY J. WILLIAMS
                                                          United States Attorney


                                                          _/s/ Ashley R. Cadotte________________
                                                          ASHLEY R. CADOTTE, OSB #122926
                                                          Assistant United States Attorney




      Motion to Dismiss Information with Prejudice                                                Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 42 of 43




                Case 3:20-cr-00247-IM        Document 17        Filed 02/16/21   Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                              3:20-cr-00247-IM

                     v.
                                                            GOVERNMENT’S MOTION TO
      JERUSALEM A. CALLAHAN,                                DISMISS INFORMATION WITHOUT
                                                            PREJUDICE
                     Defendant.
                                                            Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 22, 2020

      without prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 16, 2021

                                                            Respectfully submitted,

                                                            BILLY J. WILLIAMS
                                                            United States Attorney

                                                            s/ Pamela Paaso
                                                            PAMELA PAASO
                                                            Assistant United States Attorney




      Motion to Dismiss Information without Prejudice                                           Page 1
Case 1:21-cr-00564-CJN Document 108-1 Filed 10/18/23 Page 43 of 43




                Case 3:20-cr-00255-SI         Document 14       Filed 02/17/21    Page 1 of 1




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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

      UNITED STATES OF AMERICA                               3:20-cr-00255-SI

                     v.
                                                             GOVERNMENT’S MOTION TO
      NICHOLAS KLOIBER,                                      DISMISS INFORMATION WITH
                                                             PREJUDICE
                     Defendant.
                                                             Rule 48(a) Fed. R. Crim. P.


             United States of America moves to dismiss the information filed on July 23, 2020 with

      prejudice in the interest of justice. Fed. R. Crim. P. 48(a).

             Dated: February 17, 2021

                                                             Respectfully submitted,

                                                             BILLY J. WILLIAMS
                                                             United States Attorney

                                                             s/ Pamela Paaso
                                                             PAMELA PAASO
                                                             Assistant United States Attorney




      Motion to Dismiss Information with Prejudice                                              Page 1
